Case 1:18-cv-05628-RPK-ST Document 85 Filed 12/02/22 Page 1 of 4 PagelD #: 861

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VIA CM/ECF and FIRST CLASS MAIL December 1, 2022

 

Hon. Steven L. Tiscione, Magistrate Judge
United States District Court

Eastern District of New York

100 Federal Plaza,

Central Islip, NY 11722

RE: HAMMOCK ET AL. V. MOVING STATE TO STATE LLC., ET. AL
EDNY CASE NO. 18 Civ. 05628 (RPK) (SLT)

 

Dear Justice Tiscione:

Our office represents the Defendant(s), Yarin Nadel and Corporate Entities, in
connection with the above-referenced matter.

Plaintiffs’ counsel, from our office's initial representation of the Defendants until
presently, has been discourteous and continues to engage in conduct which is unprincipled and
hostile towards this office for no good cause.

In fact, counsel’s conduct has been nothing less than hostile, unwelcoming, and
belligerent since the start of litigation and in our office’s over twenty five years of practice we
have yet to encounter counsel who is attempting to proceed in a case in an unscrupulous and
duplicitous manner.

Counsel had filed a letter on November 28, 2022 requesting that this Honorable Court
strike the Defendants’ answer as well as enter into a default judgment against the Defendants.

Ultimately, Counsel’s request to strike the Defendants’ Answer and enter into a default

judgment against the Defendants, pursuant to Rule 37(b)(2)(a) of the Federal Rules of Civil
Procedure, is unwarranted and unsubstantiated while, accordingly, being another way of
Counsel to harass and vex the Defendants with superfluous requests.

Foremost, as counsel was well aware during the last court conference, we had made the
Court aware that the Defendant had been severely ill with the Covid-19 virus followed by a

 
Case 1:18-cv-05628-RPK-ST Document 85 Filed 12/02/22 Page 2 of 4 PagelD #: 862

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subsequent fire which had caused his place of employment to burn down as well as loss of
paperwork and documents which the Defendant had kept in storage at those locations.

Additionally, the court had allowed for all discovery to be completed on or before
February 23, 2023 by both parties as a result of the circumstances which our office had presented
to the court. Counsel was well aware of the same as he had acknowledged the same.

Upon commencement of the new order from the court, the Defendant has been in the
process of obtaining any and all copies which the Plaintiff has outlined in their discovery
demands and is still in the process of obtaining said documents.

Plaintiffs’ Counsel is well aware of the order and the circumstances which the Defendant
is presently facing with obtaining the discovery documents as our office had also made it,
unequivocally, clear to their office on the last court date as well as in follow up telephone
conferences.

Instead, Plaintiffs' Counsel is utilizing this in a disingenuous manner by making frivolous
requests with this Honorable Court and wasting the Court’s time and resources.

The Defendants are not in any wilful violation of any court order or discovery deadlines
as they are in the process of obtaining the discovery documents and, in fact, still have time
pursuant to the new court order.

Plaintiffs’ Counsel is disparaging the integrity of the Court and acting with impunity on
the issue of fairness as he is well aware, in both the prior court conference and our office’s
discussion with him and his office, that the discovery deadline provided was on, or before,
February 23, 2023 and that our client is in the process of obtaining copies of all documents in
their discovery requests.

 
Case 1:18-cv-05628-RPK-ST Document 85 Filed 12/02/22 Page 3 of 4 PagelD #: 863

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Counsel’s letter to the court reflects the unscrupulous manner in which they run their law
practice as they misrepresent and conceal the reality in their own delusional ways without a
scintilla of truth to it.

Their request for sanctions and striking the Defendants’ answer is elementary and serves
no merit. Again, emphatically, Counsel is well aware that discovery is to be completed on or
before February 23, 2022 which provides ample support of their disingenuous and frivolous
intent in their request for sanctions and striking the Defendants’ answer as only to be yet another
way of vexing, annoying, and harassing the Defendant while, accordingly, wasting this
Honorable Court’s time and resources.

Moreover, our office, on October 14, 2022, had served opposing counsel with
Defendants’ discovery demands and they have, presently, failed to provide or comply with any
of our demands.

Furthermore, it has been thirty (30) days since our office had served discovery
demands to Plaintiffs' counsel. The time for discovery demands to be provided to our office
has elapsed without counsel providing the discovery demanded. However, in sharp contrast
to complaining to the court and wasting the court’s judicial resources and time, our office
had provided additional time, as grace period, sua sponte, and allowed counsel with the
additional time in order to perfect the discovery on, or before, February 23, 2022.

Further still, expounding on the convolution of their actions, it should be noted that
during every phone conference Plaintiffs’ counsel sends Of Counsel for their office to appear
rather than counsel himself. It is our belief that since a different attorney is appearing in every
conference said counsel fails to communicate properly the updates to the firm representing the

Plaintiffs, resulting in a broken channel of communication within their office and, thus,
submission of frivolous requests.

Ultimately, the only sanctionable actions are the ones in which Plaintiffs’ counsel is
presently, and continuously, engaging in as they make frivolous requests despite an, unequivocal,
court order which allows the Parties to to complete discovery on or before February 23, 2022.

 
Case 1:18-cv-05628-RPK-ST Document 85 Filed 12/02/22 Page 4 of 4 PagelD #: 864

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We request that this Honorable Court deny the Plaintiffs’ request for Sanctions and
Striking the Defendants’ Answer, as they are frivolous in nature.

In the event that the court would like an opportunity to be heard on the issues, our office

will be prepared to appear in such conference and further expound our position.

We thank the court for its indulgence in this matter.

ctfully Submitted,

   
 
    

EIR MOZA, ESQ
Attorney for the Defendants

 
